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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              8:17CR103
                 Plaintiff,
     vs.
                                                         ORDER
GABRIELLA VALDEZ,
                 Defendant.


     IT IS ORDERED that:

     1.    The defendant's Unopposed Motion to Continue Sentencing
           (filing 150) is granted.

     2.    Defendant Gabriella Valdez's sentencing is continued to June 28,
           2018, at 1:30 p.m., before the undersigned United States District
           Judge, in Courtroom No. 1, Roman L. Hruska Federal
           Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The
           defendant shall be present at the hearing.

     Dated this 24th day of April, 2018.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
